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                                                                 3                                      UNITED STATES DISTRICT COURT
                                                                 4                                    NORTHERN DISTRICT OF CALIFORNIA
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                                                                 6    ELON MUSK, ET AL.,                                 Case No.: 4:24-CV-04722- YGR
                                                                 7
                                                                                   Plaintiffs,                           ORDER OF REFERENCE TO MAGISTRATE
                                                                 8                                                       JUDGE FOR DISCOVERY
                                                                             vs.
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                                                                      OPENAI, INC., ET AL.,
                                                                 10

                                                                 11                 Defendants.

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                                                                             Pursuant to Local Rule 72-1 this matter is REFERRED to a Magistrate Judge for all discovery
                               Northern District of California
United States District Court




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                                                                      matters, including the pending discovery letter brief (Dkt. No. 180).
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                                                                             For any pending discovery dispute, after the parties have met and conferred, the parties shall
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                                                                      prepare a joint letter of not more than 8 pages explaining the dispute. Up to 12 pages of attachments
                                                                 16
                                                                      may be added. The joint letter must be electronically filed under the Civil Events category of
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                                                                      “Motions and Related Filings --> Motions--> General --> Discovery Letter Brief.” The Magistrate
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                                                                      Judge to whom the matter is assigned will advise the parties of how the matter will proceed. The
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                                                                      Magistrate Judge may issue a ruling, order additional briefing, or set a telephone conference or a
                                                                 20
                                                                      hearing.
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                                                                             Hereafter, all further discovery matters shall be filed pursuant to the assigned Magistrate
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                                                                      Judge’s procedures. The parties shall contact the courtroom deputy of the assigned Magistrate Judge
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                                                                      for information about those procedures. Information may also be available on the court’s website.
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                                                                             IT IS SO ORDERED.
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                                                                      Dated: June 23, 2025
                                                                 26                                                     _______________________________________
                                                                                                                                YVONNE GONZALEZ ROGERS
                                                                 27                                                        UNITED STATES DISTRICT COURT JUDGE
                                                                 28   cc: MagRef Email; Assigned Magistrate Judge
